      5:17-cv-00834-RMG            Date Filed 10/12/18     Entry Number 52        Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                               ORANGEBURG DIVISION


Kizzy Estes,                                               )   Civil Action No.
                                                           )   5:17-cv-0834-RMG
                                                           )
                                 Plaintiff(s),             )
                                                           )
                  -vs-                                     )
                                                           )   ORDER OF DISMISSAL
Consuela Ferguson, et al.                                  )
                                                           )
                                 Defendant(s).             )


           The court having been advised by counsel for the parties that the above action has been

settled,

           IT IS ORDERED that this action is hereby dismissed without prejudice. If settlement is

not consummated within sixty (60) days, either party may petition the Court to reopen this action

and restore it to the calendar. Fed. R. Civ. P. 60(b). In the alternative, to the extent permitted by

law, either party may within sixty (60) days petition the Court to enforce the settlement, and the

Court specifically retains jurisdiction to enforce the settlement. See Fairfax Countywide Citizens

Ass’n v. Fairfax Cnty., Va., 571 F.2d 1299 (4th Cir. 1978). The dismissal hereunder shall be with

prejudice if no action is taken under either alternative within (60) days from the filing date of this

order.

           AND IT IS SO ORDERED.




October 12, 2018                                         s/ Richard M. Gergel
Charleston, South Carolina                               United States District Judge




                                                   1
5:17-cv-00834-RMG   Date Filed 10/12/18   Entry Number 52   Page 2 of 2




                                  1
